Case 2:03-cr-00174-MEF-TFM Document 123 Filed 01/12/06 Page 1 of 6
Case 2:03-cr-00174-MEF-TFM Document 123 Filed 01/12/06 Page 2 of 6
Case 2:03-cr-00174-MEF-TFM Document 123 Filed 01/12/06 Page 3 of 6
Case 2:03-cr-00174-MEF-TFM Document 123 Filed 01/12/06 Page 4 of 6
Case 2:03-cr-00174-MEF-TFM Document 123 Filed 01/12/06 Page 5 of 6
Case 2:03-cr-00174-MEF-TFM Document 123 Filed 01/12/06 Page 6 of 6
